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                          UNITED STATES DISTRICT COURT
                           DISTRICT OF MASSACHUSETTS


RACHEL C. WILLIAMS, on behalf of herself
and others similarly situated,
                                                  Civil Action No. 1:14-cv-12859-LTS
             Plaintiff,
                                                  FINAL ORDER APPROVING
      v.                                          CLASS ACTION SETTLEMENT,
                                                  AND JUDGMENT OF
AMERICAN HONDA FINANCE CORP.,                     DISMISSAL

             Defendant.



      Plaintiff Rachel Williams (“Plaintiff” or “Class Representative”) has submitted an

Unopposed Motion for Final Approval of Settlement Agreement (the “Final Approval

Motion”), which seeks final approval of the Parties’ Settlement Agreement (the

“Agreement”). Class Counsel has also submitted their Motion For Attorneys’ Fees,

Costs, And Incentive Award. Subject to the terms and conditions set forth below, this

Court hereby enters this Final Approval Order.

      This Court preliminarily approved the Agreement by order dated April 18, 2019.

ECF # 107. Notice was then sent to all members of the Settlement Class.

      This Court has reviewed the papers filed in support of the Final Approval

Motion, including the Agreement, memoranda and arguments submitted on behalf of

the Settlement Class, and supporting affidavits. The Court held a hearing on September

25, 2019, at which the Parties were heard with respect to the proposed Settlement.

      Based on the papers filed with the Court and the presentations made to the Court

at the hearing, the Court finds that the Agreement is fair, adequate, and reasonable, in
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accordance with Rule 23(e)(2) of the Federal Rules of Civil Procedure, and in the best

interests of the Settlement Class. Accordingly,

       IT IS HEREBY ORDERED, ADJUDGED, AND DECREED:

       1.     This Final Order Approving Class Action Settlement and Judgment of

Dismissal (“Final Approval Order”) incorporates by reference all definitions in the

Agreement, and all terms used in this order shall have the same meanings set forth in

the Agreement.

       2.     The Court has jurisdiction over the subject matter of this Action and over

all parties to this Action, including all Settlement Class Members.

       3.     Pursuant to Rule 23(b)(3), the Court certifies the following Settlement

Class for purposes of settlement only:

       all Massachusetts residents who, between April 4, 2010, and July 26, 2018:

              (a) had a RISC held by Honda;

              (b) had their motor vehicle repossessed by Honda or its agents and were
              sent one or more Massachusetts Repossession Notices;

              (c) have not obtained a discharge in bankruptcy applicable to any such
              RISC; and

              (d) Honda has not obtained a deficiency judgment against such person.

       4.     For settlement purposes only, this Court finds that the Settlement Class

satisfies the applicable prerequisites for class action treatment under Rule 23, and more

specifically that: (a) the Settlement Class as defined above is so numerous that joinder of

all members is impracticable; (b) there are questions of law or fact common to the

Settlement Class; (c) the claims of the Class Representative are typical of the claims of



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the Settlement Class; (d) the Class Representative will fairly and adequately protect the

interests of the Settlement Class; (e) the questions of law or fact common to Settlement

Class Members predominate over the questions affecting only individual members, and

(f) certification of the Settlement Class is superior to other available methods for the fair

and efficient adjudication of the controversy.

       5.     Pursuant to the Court’s Preliminary Approval Order, the approved

Settlement Notice was mailed to the Settlement Class. The Court has determined that

the notice given to members of the Settlement Class fully and accurately informed

members of the Settlement Class of all material elements of the proposed settlement;

constituted valid, due, and sufficient notice to all members of the Settlement Class; and

fully complied with Rule 23(c)(2)(B).

       6.     The Court, having considered the relevant papers, including Plaintiff’s

Final Approval Motion, finds that this settlement, on the terms and conditions set forth

in the Settlement Agreement, is in all respects fair, reasonable, adequate, and in the best

interests of the Settlement Class. The Court therefore grants final approval of the

settlement of this Action in accordance with the terms of the Agreement, subject to the

following modification of Sections 4.04 - 4.06 of the Agreement to provide additional

time for Cash Refund Eligible Settlement Class Members to cash their checks, so that

these provisions shall provide:

       4.04   Cash Refund Eligible Settlement Class Members who are not located or

              whose checks are not cashed within 180 days after the Distribution Date

              shall be automatically rendered ineligible for cash refunds and shall be


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              ineligible to share in the cash distribution portion of the Settlement.

              Honda may void any checks issued to such Settlement Class Members.

       4.05   Honda shall notify Class Counsel in writing within 210 days after the

              Distribution Date of the number of Cash Refund Eligible Settlement Class

              Members who were sent checks, the number of Cash Refund Eligible

              Settlement Class Members who did not cash their checks, the total dollar

              amount of the checks distributed by Honda, and the total dollar amount of

              uncashed checks.

       4.06   240 days after the Distribution Date, the residue of the Settlement Fund, if

              any, of any uncashed checks shall be donated to the charitable

              organizations that have been nominated by each Party (ECF # 117). For

              the charity nominated by the Class Representative, Honda shall deliver

              the check, payable to the organization, to Class Counsel for distribution.

       7.     The Court orders the Parties to perform their obligations as set forth above

and as otherwise set forth under the Agreement.

       8.     The Court dismisses the Action, and all claims and causes of action

asserted in it, on the merits and with prejudice. This dismissal is without costs to any

Party, except as specifically provided in the Agreement.

       9.     This Final Approval Order is binding on all Settlement Class Members.

       10.    Plaintiff and Settlement Class Members are permanently barred and

enjoined from asserting, commencing, prosecuting, or continuing any of the Released

Claims described in the Agreement against any of the Released Parties.


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      11.    The Class Representative and all Settlement Class Members shall, to the

extent provided in the Agreement, be deemed to have released and discharged Honda

and all other Released Persons from all Released Claims as provided in the Agreement.

      12.    Without affecting the finality of this Final Approval Order in any way, the

Court retains jurisdiction over implementation, interpretation, and enforcement of the

Agreement.

      13.    The Plaintiff and Class Counsel have moved for an award of attorneys’

fees and costs in the amount of $950,000. The Court approves Class Counsel’s request

for attorneys’ fees and costs in the amount of $950,000, finding that amount to be fair

and reasonable. The Court directs Honda to disburse this amount to Class Counsel from

the Settlement Fund as provided in the Agreement.

      14.    The Plaintiff and Class Counsel have moved for an incentive award in the

amount of $5,000. The Court approves the request for an incentive award in the amount

of $5,000, finding that amount to be fair and reasonable. The Court directs Honda to

disburse this amount to Ms. Williams from the Settlement Fund as provided in the

Agreement.

      15.    Neither this Final Approval Order nor the Agreement is an admission or

concession by Honda of any fault, omission, liability, or wrongdoing. This Final

Approval Order is not a finding of the validity or invalidity of any claims in this Action

or a determination of any wrongdoing by Honda. The final approval of the Agreement

does not constitute any opinion, position, or determination of this Court, one way or the




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other, as to the merits of the claims and defenses of the Settlement Class Members or

Honda.

                                4th day of _________________
      SO ORDERED, on this, the ____          October         2019.



                                          /s/ Leo T. Sorokin
                                         HONORABLE LEO T. SOROKIN
                                         UNITED STATES DISTRICT JUDGE




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